                            Case 11-10391-leb                    Doc 11        Entered 02/09/11 13:01:50        Page 1 of 29
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                         District of evada
 In re          John E. Harney, IV,                                                                        Case No.     2:11-bk-10391
                Aimee M. Harney
                                                                                                     ,
                                                                                   Debtors                 Chapter                       11




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                   375,000.00


B - Personal Property                                     Yes             4                   120,850.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             2                                      1,003,000.00


E - Creditors Holding Unsecured                           Yes             2                                           25,000.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             3                                           64,690.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       7,306.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       6,530.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                17


                                                                    Total Assets              495,850.00


                                                                                      Total Liabilities          1,092,690.00




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                            Case 11-10391-leb                    Doc 11         Entered 02/09/11 13:01:50                 Page 2 of 29
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                            District of evada
 In re           John E. Harney, IV,                                                                                 Case No.   2:11-bk-10391
                 Aimee M. Harney
                                                                                                          ,
                                                                                       Debtors                       Chapter                     11


              STATISTICAL SUMMARY OF CERTAI LIABILITIES AD RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                          25,000.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                           0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                        25,000.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                        7,306.00

             Average Expenses (from Schedule J, Line 18)                                                      6,530.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                             0.00


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                     464,000.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                          25,000.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                            0.00

             4. Total from Schedule F                                                                                                  64,690.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            528,690.00




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B6A (Official Form 6A) (12/07)


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 In re         John E. Harney, IV,                                                                            Case No.    2:11-bk-10391
               Aimee M. Harney
                                                                                                  ,
                                                                                    Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                  Husband,    Current Value of
                                                                          Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
               Description and Location of Property                       Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

7430 Bachelors Button Drive Las Vegas, NV                                 Fee simple                  C                  250,000.00               468,000.00

4842 Camino Hermoso, Las Vegas NV                                         Joint tenant                C                  125,000.00               250,000.00




                                                                                                  Sub-Total >            375,000.00        (Total of this page)

                                                                                                          Total >        375,000.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                  (Report also on Summary of Schedules)
Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
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B6B (Official Form 6B) (12/07)


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 In re         John E. Harney, IV,                                                                               Case No.       2:11-bk-10391
               Aimee M. Harney
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSOAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        cash                                                              C                            150.00

2.    Checking, savings or other financial                IBEW bank account                                                 C                         2,000.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  Chase bank account                                                C                               0.00
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    furniture and furnishings                                         C                         2,500.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    clothing                                                          C                         1,500.00

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,                  assault rifle (2); hanguns (5) hunting rifle                      C                         3,200.00
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >             9,350.00
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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                           Case 11-10391-leb                     Doc 11      Entered 02/09/11 13:01:50                  Page 5 of 29
B6B (Official Form 6B) (12/07) - Cont.




 In re         John E. Harney, IV,                                                                               Case No.       2:11-bk-10391
               Aimee M. Harney
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSOAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    Clark County pension                                              C                       68,000.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   JRSD Corp                                                         C                       Unknown
    and unincorporated businesses.
    Itemize.                                              Thomas & Edward LLC                                               C                               0.00

                                                          Michael & Edward LLC                                              C                               0.00

                                                          Tippy Tales LLC                                                   C                               0.00

                                                          Tropical Smoothie LLC                                             C                               0.00

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.


                                                                                                                            Sub-Total >           68,000.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         John E. Harney, IV,                                                                               Case No.       2:11-bk-10391
               Aimee M. Harney
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSOAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2002 Land Rover                                                   C                         4,000.00
    other vehicles and accessories.
                                                          2007 Land Rover                                                   C                       24,000.00

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                    desk, chairs, computer and paripherals                            C                            500.00
    supplies.

29. Machinery, fixtures, equipment, and                   restaurant equipmenmt                                             C                       15,000.00
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X




                                                                                                                            Sub-Total >           43,500.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         John E. Harney, IV,                                                                               Case No.      2:11-bk-10391
               Aimee M. Harney
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSOAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >       120,850.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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  In re         John E. Harney, IV,                                                                                    Case No.         2:11-bk-10391
                Aimee M. Harney
                                                                                                           ,
                                                                                        Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Household Goods and Furnishings
furniture and furnishings                                                 Nev. Rev. Stat. § 21.090(1)(b)                             2,500.00                         2,500.00

Wearing Apparel
clothing                                                                  Nev. Rev. Stat. § 21.090(1)(b)                             1,500.00                         1,500.00

Firearms and Sports, Photographic and Other Hobby Equipment
assault rifle (2); hanguns (5) hunting rifle    Nev. Rev. Stat. § 21.090(1)(i)                                                         500.00                         3,200.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Clark County pension                                Nev. Rev. Stat. § 21.090(1)(r)                                                 68,000.00                        68,000.00

Automobiles, Trucks, Trailers, and Other Vehicles
2002 Land Rover                                                           Nev. Rev. Stat. § 21.090(1)(c)                             4,000.00                         4,000.00

Office Equipment, Furnishings and Supplies
desk, chairs, computer and paripherals                                    Nev. Rev. Stat. § 21.090(1)(d)                               500.00                            500.00




                                                                                                           Total:                  77,000.00                        79,700.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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                            Case 11-10391-leb                     Doc 11           Entered 02/09/11 13:01:50                        Page 9 of 29
 B6D (Official Form 6D) (12/07)


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  In re         John E. Harney, IV,                                                                                        Case No.     2:11-bk-10391
                Aimee M. Harney
                                                                                                              ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDIG SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                                                                                                         CLAIM
          AND MAILING ADDRESS
                                                        D   H         DATE CLAIM WAS INCURRED,                         N    L   S
                                                                                                                                                             UNSECURED
                                                        E
                                                            W            NATURE OF LIEN, AND                           T    I   P       WITHOUT
           INCLUDING ZIP CODE,                          B                                                              I    Q   U
                                                                                                                                       DEDUCTING             PORTION, IF
          AND ACCOUNT NUMBER                            T   J          DESCRIPTION AND VALUE                           N    U   T                               ANY
                                                        O   C                OF PROPERTY                               G    I   E       VALUE OF
            (See instructions above.)                   R
                                                                           SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No.                                                     2007 Land Rover                                             E
                                                                                                                            D

Bank Of America
Attn: Bankruptcy NC4-105-02-99
Po Box 26012
                                                            C
Greensboro, NC 27420

                                                                Value $                                24,000.00                          25,000.00                  1,000.00
Account No.                                                     restaurant equipmenmt

Butler Capital


                                                            C

                                                                Value $                                15,000.00                        260,000.00               245,000.00
Account No.                                                     Second Mortgage

Chase                                                           7430 Bachelors Button Drive Las Vegas,
Po Box 24696                                                    NV
Columbus, OH 43224
                                                            C

                                                                Value $                            250,000.00                           200,000.00               200,000.00
Account No.                                                     First Mortgage

Ibm Lbps                                                        7430 Bachelors Button Drive Las Vegas,
14523 SW Millikan Way # 200                                     NV
Beaverton, OR 97005
                                                            C

                                                                Value $                            250,000.00                           268,000.00                 18,000.00
                                                                                                                    Subtotal
 1
_____ continuation sheets attached                                                                                                      753,000.00               464,000.00
                                                                                                           (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




  In re         John E. Harney, IV,                                                                                      Case No.     2:11-bk-10391
                Aimee M. Harney
                                                                                                            ,
                                                                                             Debtors

                                 SCHEDULE D - CREDITORS HOLDIG SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O
                                                        D                 DATE CLAIM WAS INCURRED,
                                                                                                                     O
                                                                                                                     N
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                                                                                                                          L
                                                                                                                              I
                                                                                                                              S        CLAIM
          AND MAILING ADDRESS                           E
                                                            H
                                                                                                                     T    I   P       WITHOUT           UNSECURED
                                                            W               NATURE OF LIEN, AND                                                         PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                     I    Q   U
                                                                                                                                     DEDUCTING
                                                        T   J                                                        N    U   T                            ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                          G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                     N    A
                                                                                                                     T    T
Account No.                                                     4842 Camino Hermoso, Las Vegas NV                         E
                                                                                                                          D

Martin Keough
903 Wainiho St
Honolulu, HI 96835
                                                        X C

                                                                Value $                            250,000.00                          250,000.00                     0.00
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal
                                                                                                                                       250,000.00                     0.00
Schedule of Creditors Holding Secured Claims                                                             (Total of this page)
                                                                                                                     Total           1,003,000.00           464,000.00
                                                                                           (Report on Summary of Schedules)

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                           Case 11-10391-leb                       Doc 11           Entered 02/09/11 13:01:50                             Page 11 of 29
B6E (Official Form 6E) (4/10)


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 In re         John E. Harney, IV,                                                                                                Case No.            2:11-bk-10391
               Aimee M. Harney
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDIG USECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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                           Case 11-10391-leb                     Doc 11           Entered 02/09/11 13:01:50                       Page 12 of 29
 B6E (Official Form 6E) (4/10) - Cont.




  In re         John E. Harney, IV,                                                                                      Case No.     2:11-bk-10391
                Aimee M. Harney
                                                                                                            ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDIG USECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                                                                               E
                                                                                                                          D

Nevada Dept of Taxation
2550 Paseo Verde Pky, Ste 180                                                                                                                        0.00
Henderson, NV 89074
                                                            C

                                                                                                                                        25,000.00             25,000.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)           25,000.00             25,000.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)             25,000.00             25,000.00

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 B6F (Official Form 6F) (12/07)


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  In re         John E. Harney, IV,                                                                                      Case No.        2:11-bk-10391
                Aimee M. Harney
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDIG USECURED OPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxx2576                                                    Opened 9/01/09 Last Active 11/08/10                           T   T
                                                                                                                                                E
                                                                              Automobile                                                        D

Bank Of America
Attn: Bankruptcy NC4-105-02-99                                            H
Po Box 26012
Greensboro, NC 27420
                                                                                                                                                                     25,636.00
Account No. xxxxxxxxxxxx6156                                                  Opened 6/01/01 Last Active 11/08/10
                                                                              CreditCard
Bank Of America
Po Box 17054                                                              C
Wilmington, DE 19850

                                                                                                                                                                     15,602.00
Account No. xxxxx4452                                                         Opened 5/21/04 Last Active 8/31/09
                                                                              CreditLineSecured
Chase
Po Box 24696                                                              C
Columbus, OH 43224

                                                                                                                                                                      Unknown
Account No. xxxxxxxxxxxx1677                                                  Opened 1/01/03 Last Active 10/14/10
                                                                              CreditCard
Discover Fin
Po Box 6103                                                               C
Carol Stream, IL 60197

                                                                                                                                                                         242.00

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                   41,480.00
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         John E. Harney, IV,                                                                                Case No.    2:11-bk-10391
                Aimee M. Harney
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDIG USECURED OPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx0102                                                      Opened 5/01/03 Last Active 11/19/10                     E
                                                                              CheckCreditOrLineOfCredit                               D

Ibew Plus Credit Union
4318 E Bonanza Rd                                                         H
Las Vegas, NV 89110

                                                                                                                                                            500.00
Account No. xxxxxxxxxxxx2401                                                  Opened 12/01/09
                                                                              FactoringCompanyAccount Capital One Bank
Portfolio Rc                                                                  N.A.
Attn: Bankruptcy                                                          H
Po Box 41067
Norfolk, VA 23541
                                                                                                                                                        22,710.00
Account No. xxxxxxxxx1416                                                     Opened 3/01/04 Last Active 7/01/04
                                                                              ConventionalRealEstateMortgage
Rbc Bank
1476 Hunter Hill Rd                                                       C
Rocky Mount, NC 27804

                                                                                                                                                         Unknown
Account No. xxxxxxxx1102                                                      Opened 11/01/02 Last Active 12/01/02
                                                                              ConventionalRealEstateMortgage
Sterling Capitol Mtg C
13101 Northwest Fwy Ste                                                   C
Houston, TX 77040

                                                                                                                                                         Unknown
Account No. xxxxxxxx1102                                                      Opened 11/01/02 Last Active 1/01/03
                                                                              ConventionalRealEstateMortgage
Sterling Capitol Mtg C
13101 Northwest Fwy Ste                                                   C
Houston, TX 77040

                                                                                                                                                         Unknown

Sheet no. _____
           1    of _____
                    2    sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        23,210.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                           Case 11-10391-leb                     Doc 11            Entered 02/09/11 13:01:50                   Page 15 of 29
 B6F (Official Form 6F) (12/07) - Cont.




  In re         John E. Harney, IV,                                                                                      Case No.     2:11-bk-10391
                Aimee M. Harney
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDIG USECURED OPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxx2610                                                        Opened 5/01/95 Last Active 12/01/01                            E
                                                                              CreditCard                                                     D

Texaco / Citibank
Attn.: Centralized Bankruptcy                                             H
Po Box 20507
Kansas City, MO 64195
                                                                                                                                                                       0.00
Account No. xxxxxxxxxxxx4028                                                  Opened 1/11/06 Last Active 1/01/09
                                                                              CreditCard
Thd/cbsd
Citibank USA/Attn: Centralized                                            H
Bankruptc
P.O. Box 20363
Kansas City, MO 64195                                                                                                                                                  0.00
Account No. xxxxxxxxx5288                                                     Opened 8/01/95 Last Active 3/01/01
                                                                              ConventionalRealEstateMortgage
World Savings & Loan
Attn: Bankruptcy                                                          C
4101 Wiseman Blvd
San Antonio, TX 78251
                                                                                                                                                                       0.00
Account No.




Account No.




Sheet no. _____
           2    of _____
                    2    sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                       0.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                64,690.00


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B6G (Official Form 6G) (12/07)


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 In re             John E. Harney, IV,                                                                         Case No.      2:11-bk-10391
                   Aimee M. Harney
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY COTRACTS AD UEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




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                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                          Case 11-10391-leb                     Doc 11   Entered 02/09/11 13:01:50             Page 17 of 29
B6H (Official Form 6H) (12/07)


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 In re          John E. Harney, IV,                                                                     Case No.      2:11-bk-10391
                Aimee M. Harney
                                                                                              ,
                                                                              Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

                 John Barrier                                                    Martin Keough
                 8550 W Charleston Blvd # 102                                    903 Wainiho St
                 Las Vegas, NV 89117                                             Honolulu, HI 96835




      0
              continuation sheets attached to Schedule of Codebtors
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                        Case 11-10391-leb                  Doc 11          Entered 02/09/11 13:01:50            Page 18 of 29
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                         District of evada
            John E. Harney, IV
 In re      Aimee M. Harney                                                                                 Case No.   2:11-bk-10391
                                                                                   Debtor(s)                Chapter    11




                                      DECLARATIO COCERIG DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of            19
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date February 9, 2011                                                 Signature   /s/ John E. Harney, IV
                                                                                   John E. Harney, IV
                                                                                   Debtor


 Date February 9, 2011                                                 Signature   /s/ Aimee M. Harney
                                                                                   Aimee M. Harney
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                       District of evada
             John E. Harney, IV
 In re       Aimee M. Harney                                                                                   Case No.       2:11-bk-10391
                                                                                Debtor(s)                      Chapter        11


                                                   STATEMET OF FIACIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "one," mark the box labeled "one." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFI)ITIO)S

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
              business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE

               2. Income other than from employment or operation of business
    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE




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                                                                                                                                                             2

              3. Payments to creditors
     None     Complete a. or b., as appropriate, and c.
      
              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
             immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
             creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments
     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
             this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                                 STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                                    DISPOSITION

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                    DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE             PROPERTY

              5. Repossessions, foreclosures and returns
     None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
    NAME AND ADDRESS OF                                            FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
     CREDITOR OR SELLER                                           TRANSFER OR RETURN                   PROPERTY


*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                                            3

             6. Assignments and receiverships
   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
            this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
            preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts
   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
            and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT            VALUE OF GIFT

             8. Losses
   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
            since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy
   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
            concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                        OR DESCRIPTION AND VALUE
   OF PAYEE                                                                THAN DEBTOR                                     OF PROPERTY

             10. Other transfers
   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
            transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                          AND VALUE RECEIVED




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                                                                                                                                                              4
   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
            trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts
   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
            otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes
   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
            immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs
   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
            commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person
   None      List all property owned by another person that the debtor holds or controls.
     
NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor
   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
            occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY

             16. Spouses and Former Spouses
   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
            Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME



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                                                                                                                                                             5

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
            or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
            Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
            the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION

             18 . ature, location and name of business
   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
            ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     
NAME                                                                   ADDRESS




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                                                                                                                                                              6

    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements
   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
            supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
            of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
            of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
            issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories
   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
            and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     
                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders
   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     
NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
            controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP




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                                                                                                                                                                   7

             22 . Former partners, officers, directors and shareholders
   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
            commencement of this case.

NAME                                                      ADDRESS                                                       DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
            immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                                  DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation
   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
            in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY

             24. Tax Consolidation Group.
   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
            group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.
   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
            employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATIO UDER PEALTY OF PERJURY BY IDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date February 9, 2011                                                  Signature   /s/ John E. Harney, IV
                                                                                   John E. Harney, IV
                                                                                   Debtor


Date February 9, 2011                                                  Signature   /s/ Aimee M. Harney
                                                                                   Aimee M. Harney
                                                                                   Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                                       District of evada
             John E. Harney, IV
 In re       Aimee M. Harney                                                                                  Case No.      2:11-bk-10391
                                                                              Debtor(s)                       Chapter       11


                        DISCLOSURE OF COMPESATIO OF ATTOREY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 10,000.00
              Prior to the filing of this statement I have received                                       $                 10,000.00
              Balance Due                                                                                 $                       0.00

2.    The source of the compensation paid to me was:
                 Debtor          Other (specify):

3.    The source of compensation to be paid to me is:
                 Debtor          Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.     [Other provisions as needed]
                  Counsel regarding Chapter 11, preparation of all documents, attendance at meeting of creditors, and any other
                  tasks necessary to obtain a discharge other than those tasks excluded below.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtor in any adversary proceeding, dischargeability actions, judicial lien avoidances, or
              any advice or counsel relating to TILA, RESPA or any other similar statutory or common law rights to affect a
              mortgage. My services do not include reaffirmation agreements or adding omitted creditors.
                                                                       CERTIFICATIO

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:        February 9, 2011                                                /s/ David A. Riggi, Esq.
                                                                              David A. Riggi, Esq.
                                                                              David A. Riggi, Attorney and Counselor at Law
                                                                              5550 Painted Mirage Rd. #120
                                                                              Las Vegas, NV 89149
                                                                              800-378-0887 Fax: (888) 306-7157
                                                                              riggilaw@gmail.com




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                                                          United States Bankruptcy Court
                                                                         District of evada
           John E. Harney, IV
 In re     Aimee M. Harney                                                                        Case No.   2:11-bk-10391
                                                                                  Debtor(s)       Chapter    11




                                           VERIFICATIO OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: February 9, 2011                                                 /s/ John E. Harney, IV
                                                                       John E. Harney, IV
                                                                       Signature of Debtor

Date: February 9, 2011                                                 /s/ Aimee M. Harney
                                                                       Aimee M. Harney
                                                                       Signature of Debtor




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                   John E. Harney, IV
                   Aimee M. Harney
                   7430 Bachelors Button Drive
                   Las Vegas, NV 89131

                   David A. Riggi, Esq.
                   David A. Riggi, Attorney and Counselor at Law
                   5550 Painted Mirage Rd. #120
                   Las Vegas, NV 89149

                   Bank Of America
                   Acct No xxxxxxxxxx2576
                   Attn: Bankruptcy NC4-105-02-99
                   Po Box 26012
                   Greensboro, NC 27420

                   Bank Of America
                   Acct No xxxxxxxxxxxx6156
                   Po Box 17054
                   Wilmington, DE 19850

                   Bank Of America
                   Attn: Bankruptcy NC4-105-02-99
                   Po Box 26012
                   Greensboro, NC 27420

                   Butler Capital


                   Chase
                   Acct No xxxxx4452
                   Po Box 24696
                   Columbus, OH 43224

                   Chase
                   Po Box 24696
                   Columbus, OH 43224
                   Discover Fin
                   Acct No xxxxxxxxxxxx1677
                   Po Box 6103
                   Carol Stream, IL 60197

                   Ibew Plus Credit Union
                   Acct No xxxxxxxx0102
                   4318 E Bonanza Rd
                   Las Vegas, NV 89110

                   Ibm Lbps
                   14523 SW Millikan Way # 200
                   Beaverton, OR 97005

                   John Barrier
                   8550 W Charleston Blvd # 102
                   Las Vegas, NV 89117
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               Martin Keough
               903 Wainiho St
               Honolulu, HI 96835

               Nevada Dept of Taxation
               2550 Paseo Verde Pky, Ste 180
               Henderson, NV 89074

               Portfolio Rc
               Acct No xxxxxxxxxxxx2401
               Attn: Bankruptcy
               Po Box 41067
               Norfolk, VA 23541

               Rbc Bank
               Acct No xxxxxxxxx1416
               1476 Hunter Hill Rd
               Rocky Mount, NC 27804

               Sterling Capitol Mtg C
               Acct No xxxxxxxx1102
               13101 Northwest Fwy Ste
               Houston, TX 77040

               Sterling Capitol Mtg C
               Acct No xxxxxxxx1102
               13101 Northwest Fwy Ste
               Houston, TX 77040

               Texaco / Citibank
               Acct No xxxxxx2610
               Attn.: Centralized Bankruptcy
               Po Box 20507
               Kansas City, MO 64195

               Thd/cbsd
               Acct No xxxxxxxxxxxx4028
               Citibank USA/Attn: Centralized Bankruptc
               P.O. Box 20363
               Kansas City, MO 64195

               World Savings & Loan
               Acct No xxxxxxxxx5288
               Attn: Bankruptcy
               4101 Wiseman Blvd
               San Antonio, TX 78251
